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                                     UNITED STATES DISTRICT COURT
                                                                                                                  FILEtr)
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                                                           JUN 2   gzOfiN
                                           EASTERN DIVISION

                                                                                                                 - THOMAS       G. BRUTON
                                                                            )                                   CLERK, U.S. DISTRICT COURT
                                                                            )
                                                                            )
                                                                            )

                        Plaintiff(s),

                                   vs.
                                                                                    17cv1732
)L CagAccro                   Bruthens , {rua                                       {udge Edmond E Chang
                                                                                    tagis@Judgeyoung B Kim
*         $1f6nJK      \+y   Y           a

    x Bf Le.uru\ile Y\a?a , 'u:-C-
                        Defendant(s).



                    COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

      Thisform complaint is designed to help you, as a pro se plaintiff, state your case in a clear
     mannen Please reud the directions and the numbered paragraphs carefully. Some paragraphs
     may not apply to you. You n ay cross out paragraphs that do not apply to yoa. All references
     to "plaintiff' and "defendant" ure stated in the singular but will apply to more than one
     plainffi or defendant if that is the nature of the case.

     l.     This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

            laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

     2.     The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367,

     J.     praintirrs tus name           i.     FreJ,c,\t        e       ile r     nJorv                    6 -ZZ         -l l-.
     If there are additional plaintffi, ftll in the above information as to the first-named plaintiff
     and complete the information for each additional plaintiff on an extra sheel




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4.      Defendant,                                                                                                               IS
                                                          (name, badge number if known)


        E    an officer or       official employed by
                                                                         (department or agency of government)




        E    an individual not employed by a govemmental entity.

If there are additional                           jill
                                     in the ubove information as to the first-na,med
                                 defendants,
defendant and complete the information for each sdditional defendant on an extra sheet,

5.     The municipality, township or county under whose authority defendant officer or official

       acted is                                                                                       . As to plaintiff s federal

       constitutional claims, the municipality, township or countlr is a defendant only                                if
       custom or policy allegations are made aLparagraph 7 below.

6.     On or about                                            at approximately                                    n a.m.     D p.m.
                                  (month,day, year)
       plaintiff was present in the municipality (or unincorporated area) of

                                                                        , in the County          of

       State of Illinois, at
                                             (identify location as precisely    as   possible)


       when defendant violated plaintiff s civil rigiris as foliows (Place X in esch box ihat
       applies):

       D             arrested or seized plaintiff without probable cause to believe that plaintiff had
                     committed, was committing or was about to commit a crime;
       tr            searched plaintiff or his property without a warrant and without reasonable cause;
       tr            used excessive force upon plaintiff;
       n             failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                     one or more other defendants;
       n             failed to provide plaintiff with needed medical care;
       tr            conspired together to violatq one or more of plaintiff s civil rishts:
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       Defendant,                                                                                                                     is
                                                         (name, badge nurnber if known)


        n    an officer or        official employed by
                                                                          (department or agency of government)
                                                                                                                                     or

       n     an individual not employed by a governmental entity.

If there are additional
                     defendants, ftll in the above information as to the jirst-named
defendant and complete the information for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       acted       is                                                                              . As to plaintifls        federal

       constitutional claims, the municipality, township or county is a defendant only                                 if
       custom or policy allegations are rnade atparagraph 7 below.

6.     On or about                                            at approximately                                    [J a.m. n p.m.
                                  (month,day, year)
       plaintiff was present in the municipality (or u nincorporated area) of

                                                                           in the County of

       State of       lllinois,   at
                                             (identify location   as   precisely as possible)


       when defendant violated plaintiff s civil rigiits as foliows (Place X in each box that
       applies):

       n             arrested or seized plaintiff without probable cause to believe that plaintiff had
                     committed, was committing or was about to commit a crime;
       tr            searched plaintiff or his property without a warrant and without reasonable cause;
       tr            used excessive force upon plaintiff;
       n             failed to intervene to protect piaintiff from violation of plaintiff s civil rights by
                     one or more other defendants;
       n             failed to provide plaintiff with needed medical care;
       tr            conspired together to violatq one or more of plaintiff s civil
      'tr            Other:    (otrtcltcl, \nc\de5                 66'6(cxt|      {;ycS 'a(                                  e(corA n^txla'tiot,
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7   .     Defendant officer or official acted pursuant to a custom or policy of defendant

          municipality, county or township, which custom or policy is the following: (Leave blunk

          if no custom           or   policy is alleged):




8.        Plaintiff was charged with one or more crimes, specifically:




9.        (Place an X in the box that applies. If none applies, you moy describe the criminul
          proceedings under "Other') The criminal proceedings

          n         are   still pending.

          tl        were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.l

          tr        Plaintiff was found guilty of one or more charges because defendant deprived me of                          a


          fair trial as follows



          E     Other:



          lExamples
                    of termination in favor of the plair, tiff in a manner indicating plaintiff was innocent
may include    judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
                    a
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

                                                                      3



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         10.    Plaintiff further alleges as follows: (Describe what happened that you believe
         supports your cldims. To the extent possible, be speciftc as to your own dctions and
        the actions of each defendant.'1




11.     Defendant acted knowingly, intentionally,                     willfully   and maliciously.

t2.     As a result of defendant's conduct, plaintiff was injured as follows:




                                                                                                                            ar{

13.     Plaintiff asks that the case be tried by a jury.
                                                                          ffes               nNo



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  14.     Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such

          as false alrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

          and/or any other claim that may be supported by the allegations of this complaint.




          WHEREFORE, plaintiff asks for the following relief:

          A.          Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                      loss of income, loss of enjoyment of life, property damage and any other injuries

                      inflicted by defendant;

          B           J    (Pluce X in box         if you   are seeking punitive damages.) Punitive damages

                      against the individual defendant; and

                      Such injunctive, declar atory,or other relief as may be appropriate, including
        @
 attorney's fees and reasonable expe                        as authorizedby 42 U.S.C. $ 1988.

          Plaintiff s signature:

          Plaintiff s name (print clearly or type):
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          ptaintifrs maiting                                                                             B\uJ
                    "aa*rs
          city Chtcae,p           State -L                                                               ZIP

          Plaintiff s telephone number: (3I2                  ) 5q+ -qS \ \
          Plaintiff s email address (if you prefer to be contucted by email):

                                                                        t\.cor".
15.      Plaintiff has previously filed a case in this district.                   tl   Yes
                                                                                              F *o
         If yes, please list the cases below.


Any additional plaintffi ntust sign the compluint and provide the same informution as the Jirst
plainttff, An additional signuture poge may be ocldect.

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  Defendants are involved with offering public accommodations at a
  property in Chicago, Illinois, located at3240 West Roosevelt Road,
  known as Leamington Foods. For approximately one year and as late as
  fune B, Defendants denied Mr. Herndon the access, use, enjoyment of the
  benefits, extended to all other grocery customers. When Plaintiff was
  able to gain entry a week later, he had to wait outside for 20-25 minutes
  to gain entry from a manager or security guard and another 20-25
  minutes to exit after completing his purchase. The majority of the times,
  the Plaintiff has to pay others $5-$7 to shop for him when he does not
  have the energy to deal with the complexities associated with gaining
  access to Leamington Foods.

  Parties

  Plaintiff Freddie Herndon is a 51-year-old disabled African - American
  man who resides on the west side of Chicago, approximately a mile from
  Leamington Foods. The plaintiff was a victim of a drive by shooting
  over 30 years ago that has left him wheel chair bound as a result, he
  battles many health issues daily.

  Defendant Casaccio Brothers, [nc. an Illinois Corporation own
  Leamington Foods. They own and operate approximately three full
  service grocery stores in the Chicago land area.

  Defendant Matanky Realty has been in the real estate business since
  1955. Their real estate services include but are not limited to
  brokerage, leasing, retail consulting, ffianagement, and development.

  Defendant Br Lawndale Plaza, LLC purchased 3240 West Roosevelt
  Road for $12,666,666.00, it was last recorded in 201,3. This information
  was obtained from Beenverified.com.

  FACTS

  On  |uly 26,1990, Congress enacted the Americans with Disabilities Act,
  42 U.S.C. section 1,21,0L, et seq., establishing the most important civil
  rights law for persons with disabilities in our country's history.
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     Congress gave commercial businesses one and half years to implement
     the Act. The effective date was |anuary 26,1992.

     Mr. Herndon lives on the west side of Chicago at 4522 West fackson
     Blvd and does his major grocery shopping at Leamington Foods located
     at3240 West Roosevelt Road. He use to shop at the Leamington Foods
     located at5467 West Madison Street but was robbed on two occasions
     so he no longer shops at that location.

     Mr. Herndon recalls having as many as ten or more conversations with
     the Leamington Foods staff andf or security regarding the in
     accessibility of the store.

     Approximately one and a half year ago, Leamington Foods installed
     concrete pillars that make it impossible for one utilizing a wheel
     chair/and or a walker to enter the grocery store.

     Currently there is not a ramp in front of Leamington Foods, on the few
     occasions, Mr. Herndon was able to enter Leamington Foods, and he had
     to use the ramp of the neighboring store, Foot Action. EXHIBIT A

     Jimmy, the head of security, shared with Mr. Herndon the pillars were
     installed in an effort to prevent grocery cart theft.

     Mr. Herndon was taken aback by the lack of awareness of his difficulties
     in accessing Leamington Foods. Having to wait 20-25 minutes to enter
     and leave is completely unacceptable. Mr. Herndon has cried on
     numerous occasions regarding his experience at Leamington Foods.
     EXHIBIT B

     Mr. Herndon only form of income is Supplemental Security Income
     "SSI". Leamington Foods has put tremendous pressure on Mr.
     Herndon's financial situation. Being forced to pay $5-$7 to personal
     shoppers, is unfair and completely unaffordable to Mr. Herndon.

     Defendants treated Plaintiff and other disabled customers differently in
     a place of public accommodation because of Mr, Herndon's disability.
     Defendants denied Mr. Herndon the use and enjoyment of the benefits,
     privileges and conditions that it extends to all other customers.
N (rr S$aJn\ment
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       As a result of the Defendant's unlawful actions as described above,
       Plaintiff Freddie Herndon has suffered emotionally and economically.
       The humiliation, embarrassment, emotional distress and unlawful
       deprivation of his federally protected rights have prompted this lawsuit.

       PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully pray that the Court grant the following
       relief:

       Defendants remove all barriers in front of Leamington Foods
       i mmediately. (E$trlhirt (A



       Defendants install curb ramps in front of Leamington Foods per state
       and federal law.

       Defendants provide a thorough and exterior evaluation by a certified
       accessibility expert that will identi$r other barriers that impede access
       to Leamington Foods by people with physical disabilities.

       Defendants provide sensitivity training for all employees on the
       American Disability Act.

       Defendants agree to pay all legal and professional fees associated with
       this complaint

       The barriers identified above are only those that the plaintiff personally
       encountered. Plaintiff is presently unaware of other barriers that may
       in fact exist at property and relate to Mr. Herndon's disability. Plaintiff
       will seek to amend this complaint once such additional barriers are
       identified, as it is plaintiffs intention to have all barriers that exist that
       relate to Mr. Herndon's disabilities removed to afford him full and equal
       ACCCSS.
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